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        In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                           No. 15-0484V
                                    Filed: September 18, 2015
                                            Unpublished

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LOGAN OSBERG,                           *
                                        *
                    Petitioner,         *      Ruling on Entitlement; Concession;
       v.                               *      Influenza or Flu Vaccine; Shoulder
                                        *      Injury Related to Vaccine Administration
SECRETARY OF HEALTH                     *      (“SIRVA”); Special Processing Unit
AND HUMAN SERVICES,                     *      (“SPU”)
                                        *
                    Respondent.         *
                                        *
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Andrew Downing, Esq., Van Cott & Talamante, PLLC, Phoenix, AZ, for petitioner.
Justine Walters, Esq., U.S. Department of Justice, Washington, DC for respondent.

                                     RULING ON ENTITLEMENT1

Dorsey, Chief Special Master:

        On May 12, 2015, Logan Osberg filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that he suffered a shoulder injury related
to vaccine administration (SIRVA) caused by the influenza vaccine he received in his
left arm on November 13, 2014. Petition at 1. Petitioner further alleges that he
continues to suffer the residual effects of his injury. Id., ¶¶ 10-11. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

       On September 18, 2015, respondent filed her Rule 4(c) report in which she
concedes that petitioner “is entitled to compensation for the left shoulder injury he
sustained following his receipt of the flu vaccination on November 13, 2014.”
Respondent’s Rule 4(c) Report at 1. “[R]espondent has concluded that petitioner’s left

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I intend to
post it on the United States Court of Federal Claims' website, in accordance with the E-Government Act
of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501
note (2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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shoulder injury is compensable as a ‘caused-in-fact’ injury under the Act.” Id. at 4.
Furthermore, respondent agrees that all statutory and jurisdictional requirements have
been met. Id.

       In view of respondent’s concession and the evidence before me, I find that
petitioner is entitled to compensation.

                                 s/Nora Beth Dorsey
                                 Nora Beth Dorsey
                                 Chief Special Master




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